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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF CONNECTICUT
______________________________________
RICHARD WOLFFER                       )   CIVIL ACTION NO.
     Plaintiff                        )   3:10-CV-01902-MRK
                                      )
v.                                    )
                                      )
                                      )
PINNACLE ASSET GROUP, LLC &            )
JOHN DOE a/k/a MARK JOHNSON           )
    Defendants                        )
_____________________________________ )   APRIL 15, 2011

                                 NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. Rule 41(a)(1)(A)(i), the plaintiff, Richard Wolffer,

through his attorney, hereby gives notice that the claims of the above-entitled action

shall be dismissed, without costs or attorney’s fees.

                                           Plaintiff, Richard Wolffer

                                           By/s/Daniel S. Blinn
                                           Daniel S. Blinn (ct02188)
                                           Consumer Law Group, LLC
                                           35 Cold Spring Road, Suite 512
                                           Rocky Hill, CT 06067
                                           (860) 571-0408
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                                           dblinn@consumerlawgroup.com


                                     CERTIFICATION

        I hereby certify that on this 15th day of April, 2011, a copy of foregoing
Notice of Dismissal with Prejudice was filed electronically and served by mail on
anyone unable to accept electronic filing. Notice of this filing will be sent by e-
mail to all parties by operation of the Court’s electronic filing system or by mail to
anyone unable to accept electronic filing as indicated on the Notice of Electronic
Filing. Parties may access this filing through the Court’s CM/ECF System.

                                             /s/Daniel S. Blinn
                                             Daniel S. Blinn
